  AO 245C (Rev.Case  2:13-cr-00018-JCM-GWF
                  ) Amended Judgment in a Criminal Case                  Document 754             Filed 08/26/15 (NOTE:
                                                                                                                    Page     1 of
                                                                                                                        Identify    10 with Asterisks (*))
                                                                                                                                 Changes
          Sheet 1


                                             UNITED STATES DISTRICT COURT
                                                                         District of                                       Nevada

          UNITED STATES OF AMERICA                                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                    Case Number: 2:13-CR-0018-JCM-GWF
       RUDOLFO ALVAREZ-RODRIGUEZ (8)
                                                                                    USM Number: 47515-048
Date of Original Judgment:                 5/21/2015                                CHAD BOWERS, CJA
(Or Date of Last Amended Judgment)                                                  Defendant’s Attorney

Reason for Amendment:
   Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                      Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
   Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                       Modification of Imposed Term of Imprisonment for Extraordinary and
   P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
   Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                  Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                        to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                        Direct Motion to District Court Pursuant     28 U.S.C. § 2255 or
                                                                                            18 U.S.C. § 3559(c)(7)
                                                                                        Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
    pleaded guilty to count(s)          ONE [1] OF THE INDICTMENT
    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                Offense Ended                  Count
 18 U.S.C.§1349;1343                  Conspiracy to Commit Wire and Mail Fraud                                                                        1

 & §1341


       The defendant is sentenced as provided in pages 2 through                    5         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s) All remaining counts                     is                  are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 5/21/2015
                                                                                Date of Imposition of Judgment


                                                                                    Signature of Judge
                                                                                    James C. Mahan,                                U.S. District Judge
                                                                                    Name of Judge                                  Title of Judge
                                                                                     August 26, 2015
                                                                                    Date
 AO 245C     Case 2:13-cr-00018-JCM-GWF
            (Rev.      ) Amended Judgment in a Criminal Case    Document 754           Filed 08/26/15          Page 2 of 10
            Sheet 2 — Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page       2     of         5
 DEFENDANT: RUDOLFO ALVAREZ-RODRIGUEZ (8)
 CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                                               IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
(12) months and (1) day




      The court makes the following recommendations to the Bureau of Prisons:

1. Defendant my served time at the same facility as his brother Jose Luis Alvarez.
2. As close to Las Vegas, Nevada as possible.


      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
            at                                            a.m         p.m.        on                                     .

            as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            before 12:00  p.m. 8/21/2015
                   2 p.m. on                                             .

            as notified by the United States Marshal.

            as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                           to

 at                                                       with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                             By
                                                                                              DEPUTY UNITED STATES MARSHAL
               Case 2:13-cr-00018-JCM-GWF                          Document 754                Filed 08/26/15            Page 3 of 10
 AO 245C      (Rev.     ) Amended Judgment in a Criminal Case
              Sheet 3 — Supervised Release                                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                 Judgment—Page               of         5
 DEFENDANT: RUDOLFO ALVAREZ-RODRIGUEZ (8)
 CASE NUMBER: 2:13-CR-0018-JCM-GWF
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

(3) years



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state, or local crime.
The
 TheDefendant
       defendantshall notnot
                   shall   unlawfully possess
                              unlawfully       a controlled
                                           possess          substance.
                                                    a controlled       The defendant
                                                                  substance.         shall refrain
                                                                               The defendant       from
                                                                                                shall    any unlawful
                                                                                                       refrain from anyuseunlawful
                                                                                                                            of a controlled
                                                                                                                                      use ofsubstance. The
                                                                                                                                              a controlled
defendant
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drugthe
           shall submit  to one drug test within 15 days  of placement on probation and at least two  periodic drug tests thereafter, as determined by  tests
 thereafter,
court,        as determined
       not to exceed  104 testsby the court.
                                annually. Revocation is mandatory for refusal to comply.
        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defendant’s compliance with such notification requirement.
            Case 2:13-cr-00018-JCM-GWF                       Document 754     Filed 08/26/15            Page 4 of 10
AO 245C    (Rev.     ) Amended Judgment in a Criminal Case
           Sheet 3C — Supervised Release                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                              Judgment—Page              of         5
DEFENDANT: RUDOLFO ALVAREZ-RODRIGUEZ (8)
CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                      SPECIAL CONDITIONS OF SUPERVISION
1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

2. Warrant less Search - To ensure compliance with all conditions of release, the defendant shall submit to the search of
his/her person, and any property, residence, business or automobile under his/her control by the probation officer, or any
other authorized person under the immediate and personal supervision of the probation officer without a search warrant at
a reasonable time and in a reasonable manner. Provided, however, the defendant shall be required to submit to any
search only if the probation officer has reasonable suspicion to believe the defendant has violated a condition or conditions
of release.

3. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.

4. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.

5. No Contact Condition - You shall not have contact, directly or indirectly, associate with, or be within 500 feet of co
conspirators in related cases listed in the pre sentence report (excludes defendants brother Jose Luis Alvarez as approved
and directed by probation officer), their residence or business, and if confronted by co conspirators in related cases listed
in the pre sentence report (excludes defendants brother Jose Luis Alvarez as approved and directed by probation officer)
in a public place, you shall immediately remove yourself from the area.

6. Community Service - You shall complete 100 hours of community service, as approved and directed by the probation
officer.

7. Employment Restriction - You shall be restricted from engaging in employment, consulting, or any association with any
real estate, mortgage business for a period of six months.

8. Report to Probation Officer after Release from Custody - You shall report, in person, to the probation office in the
district to which you are released within 72 hours of discharge from custody.

Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
court at the time of sentencing.

      ACK NOWL EDGEM ENT


      Upon finding of a violation of probation or supervised release, I understand that the court may
      (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
      supervision.

      These conditions have been read to me. I fully understand the conditions and have been provided
      a copy of them.


      (Signed)         _________________________                          ______________________
                       Defendant                                          Date


                      ___________________________                         _______________________
                      U.S. Probation/Designated Witness                   Date
             Case 2:13-cr-00018-JCM-GWF                          Document 754                 Filed 08/26/15          Page 5 of 10
 AO 245C    (Rev.     ) Amended Judgment in a Criminal Case
            Sheet 5 — Criminal Monetary Penalties                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                          Judgment — Page       3     of            5
 DEFENDANT: RUDOLFO ALVAREZ-RODRIGUEZ (8)
 CASE NUMBER: 2:13-CR-0018-JCM-GWF
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                           Fine                                 Restitution
 TOTALS           $ 100.00                                               $ 0.00                                $ 119,585.81


     The determination of restitution is deferred until                            . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                       Total Loss*                 Restitution Ordered        Priority or Percentage
Vistana HOA: Attn: Richard Haskin,                                              $119,585.81                                  99.8%
7450 Arroyo Crossing Parkway, Ste. 270
Las Vegas, NV 89113


Park Avenue HOA:                                                                                                             0.2%
Park Avenue Homeowners Association, c/o
FirstService Residential
8290 Arville Street,
Las Vegas, NV 89139




 TOTALS                                                              $                            $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

           the interest requirement is waived for             fine            restitution.

           the interest requirement for              fine                restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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 1
                      UNITED STATES DISTRICT COURT
 2                         DISTRICT OF NEVADA
 3                                -oOo-
 4   UNITED STATES OF AMERICA,        )
                                      )
 5               Plaintiff,           )
                                      )
 6               v.                   )
 7                                    )       CASE NO. 2:13-cr-00018-JCM-GWF
     LEON BENZER, et al.              )
 8                                    )
                 Defendants.          )
 9                                    )
                                      )
10   UNITED STATES OF AMERICA,        )
                                      )
11               Plaintiff,           )
                                      )       CASE NO. 2:12-cr-00113-JCM-VCF
12               v.                   )
                                      )
13   ROSALIO ALCANTAR, et al.         )
                                      )
14
                 Defendants.          )
15                                    )
     UNITED STATES OF AMERICA,        )
16                                    )
                 Plaintiff,           )
17                                    )       CASE NO. 2:11-cr-00336-JCM-GWF
                 v.                   )
18                                    )
     MARY ANN WATTS,                  )
19                                    )
20               Defendant.           )

21   UNITED STATES OF AMERICA,        )
                                      )
22               Plaintiff,           )         CASE NO. 2:11-cr-00339-LDG-GWF
                                      )
23               v.                   )
                                      )
24   DEBORAH GENATO,                  )
                                      )
25
                 Defendant.           )
26                                    )




                                          1
        Case 2:13-cr-00018-JCM-GWF             Document 754        Filed 08/26/15     Page 7 of 10



     UNITED STATES OF AMERICA,                     )
 1                                                 )
                     Plaintiff,                    )       CASE NO. 2:14-cr-00010-JCM-VCF
 2                                                 )
                     v.                            )
 3                                                 )
     BARRY LEVINSON,                               )       SECOND AMENDED FINAL OMNIBUS
 4                                                 )       RESTITUTION ORDER
 5                   Defendant.                    )
 6

 7            Based on findings made during the sentencings of the individual defendants enumerated
 8   below, the Court hereby enters the following order regarding restitution in the above-captioned
 9   cases.
10            The following defendants are ordered to pay up to the following dollar amounts, jointly
11   and severally, as restitution to the Vistana Homeowners’ Association and the Park Avenue
12   Homeowners’ Association. Of restitution payments received, 99.8% shall be directed to the
13   Vistana HOA, and 0.2% shall be directed to the Park Avenue HOA, as is commensurate with
14   their share of the restitution awards.
15

16                                                                      Restitution Amount
                                                                        (Joint and Several
17                Defendant Name                Case Number                  Liability)
               Alcantar, Rosalio         2:12-cr-00113-JCM-VCF                    $25,826.20
18
               Alvarez, Jose Luis        2:13-cr-00018-JCM-GWF                   $184,200.84
19             Alvarez-Rodriguez,
               Rudolfo                   2:13-cr-00018-JCM-GWF                   $119,585.81
20             Anderson, Ricky           2:13-cr-00018-JCM-GWF                     $41,642.49
21             Benzer, Leon              2:13-cr-00018-JCM-GWF                 $12,228,913.40
               Bolten, Robert            2:12-cr-00113-JCM-VCF                   $135,932.36
22             Brown, Glenn              2:12-cr-00113-JCM-VCF                      $5,295.00
23             Deluca, Michelle          2:12-cr-00113-JCM-VCF                     $10,000.00
               Genato, Deborah           2:11-cr-00339-LDG-GWF                     $30,000.00
24             Gillespie, Edith          2:13-cr-00018-JCM-GWF                     $85,780.00
25

26




                                                       2
         Case 2:13-cr-00018-JCM-GWF           Document 754        Filed 08/26/15     Page 8 of 10




             Gregory, Keith            2:13-cr-00018-JCM-GWF                 $12,154,913.401
 1
             Hawkins, Charles          2:12-cr-00113-JCM-VCF                    $147,884.00
 2           Hindiyeh, Sami            2:12-cr-00113-JCM-VCF                       $6,000.00
             Jones, Brian              2:12-cr-00113-JCM-VCF                      $10,000.00
 3
             Levinson, Barry           2:14-cr-00010-JCM-VCF                 $12,228,913.402
 4           Limon, Maria              2:13-cr-00018-JCM-GWF                      $24,000.00
             Mattingly, Morris         2:12-cr-00113-JCM-VCF                    $190,471.03
 5
             Watts, Mary Ann           2:11-cr-00336-JCM-GWF                      $39,350.00
 6           Winkler, Jeanne           2:12-cr-00113-JCM-GWF                      $47,000.00
 7

 8          These funds should be directed to the following:
 9                  Vistana HOA: Attn: Richard Haskin, 7450 Arroyo Crossing Parkway, Suite 270,
10                  Las Vegas, NV 89113
11                  Park Avenue HOA: Park Avenue Homeowners Association, c/o FirstService
12                  Residential, 8290 Arville Street, Las Vegas, NV 89139
13          In addition, once Defendant Leon Benzer has satisfied his mandatory restitution to the
14   above-listed HOAs (or other defendants have paid the $12,228,913.40 he owes to those HOAs),
15   Defendant Leon Benzer is hereby ordered to pay $1,165,186.81 in restitution to the United States
16   Treasury, pursuant to the restitution award in United States v. Benzer, Case No. 2:13-cr-174-
17   KJD-CWH. These funds should be directed to: IRS-RACS, Attn: Mail Stop 6261, Restitution,
18   333 W. Pershing Ave., Kansas City, MO 64108.
19   /
20   /
21   /
22

23   1
            The Court originally ordered Defendant Gregory to pay $12,604,913.40 in restitution.
            However, Defendant Gregory should have received a credit for the $450,000 paid to
24          Silver Lining Construction but ultimately recovered by the Vistana HOA, and his
25          restitution amount is hereby reduced by that amount.
     2
            The Court originally ordered Defendant Levinson to pay $19,000,000 in restitution.
26          However, given that Defendant Leon Benzer was ordered to pay $12,228,913.40 in
            restitution and Leon Benzer was the leader of the conspiracy, Defendant Levinon’ s
            restitution award should not exceed Defendant Benzer’ s.


                                                     3
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 1      IT IS SO ORDERED.

 2             August 18, 2015.
        Dated: ____________

 3

 4                         ENTERED: _________________________

 5

 6                                    United States District Judge

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                                         4
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AO 245C     (Rev.     ) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment — Page      4       of         5
DEFENDANT: RUDOLFO ALVAREZ-RODRIGUEZ (8)
CASE NUMBER: 2:13-CR-0018-JCM-GWF

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A          Lump sum payment of $ 100.00                       due immediately, balance due

               not later than                                    , or
               in accordance with          C,         D,         E, or      F below; or

B          Payment to begin immediately (may be combined with              C,          D, or       F below); or

C          Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:

          Schedule of payments – 10% of any income earned during incarceration and/or gross income while on
          supervision, subject to adjustment by the court based on ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.
    "SEE SECOND AMENDED FINAL OMNIBUS RESTITUTION ORDER ATTACHED"




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
